Actions begun February 13, 1939, by Dr. A. H. C. Carthaus, and March 1, 1939, by the St. Joseph's Hospital of Franciscan Sisters, against Ozaukee county, for medical services and hospitalization costs, respectively, furnished to one Raymond Novak.  The town of Rockland and Manitowoc county were impleaded as defendants by Ozaukee county. From judgments dismissing the actions on the merits the plaintiffs appeal.
Raymond Novak, a twenty-two-year-old resident of the town of Rockland, Manitowoc county, was severely injured when his automobile overturned and caught fire in the village of Thiensville, Ozaukee county, on January 3, 1938.  The plaintiff doctor was called immediately and he had Novak rushed to the plaintiff hospital in Milwaukee county where he was confined for over sixteen months before being removed to the Wisconsin General Hospital at Madison.
On or about January 25, 1938, Mr. Howard G. Large, director of poor relief of Ozaukee county, gave the county clerk of Ozaukee county the statutory notice required by sec. *Page 440 
49.03 (3), Stats.  He had had a meeting with the plaintiffs at the St. Joseph's Hospital a few days after the accident and the conversation is now used as the basis for a claim that it formed a contract with the plaintiffs to pay the plaintiffs for the medical services and hospitalization.  On January 28, 1938, notice was given by the Ozaukee county clerk to the Manitowoc county clerk as required by sub. (4) of sec. 49.03, and to the chairman of the town of Rockland.
In the case in which Dr. Carthaus was plaintiff the lower court made findings of fact, inter alia, that the town clerk of Rockland notified in writing the county clerk of Manitowoc county and Large, the director of Ozaukee county public welfare department, that the town of Rockland denied liability on the ground that Novak was not a pauper and that no twenty-four hour notice was given as required by sec. 49.18 (2), Stats.  The court found in addition that emergency medical-hospital attention was required; that the plaintiff doctor made no effort to collect for his services from Novak nor to secure any guaranty from Novak, his parents, or anyone else; that no express or implied contract ever existed to bind any of the defendants, and that none of the defendants authorized the expenses so incurred.
The conclusions of law were that Novak was "not indigent, a poor person or a pauper;" that no contract binding any of the defendants was entered; that an emergency existed; that emergency medical relief is governed by sec. 49.18, Stats; and that the provisions of that section were not complied with by the doctor.  Findings of fact and conclusions of law, identical to those set out above, except for the names of the parties, were made in the case in which the hospital was plaintiff.
Each plaintiff claims that Novak was a poor person entitled to relief; that sec. 49.03, Stats., is controlling; and that a valid contract was formed between plaintiffs and Large, an agent of Ozaukee county.  The plaintiffs assign as error *Page 441 
the lower court holdings that:  (1) Novak was not a poor person entitled to relief, (2) that there was no agreement to pay for the medical care and hospitalization, and (3) that the actions were barred by the failure to comply with the notice provisions of sec. 49.18.
The facts involved in this case relate to care of an injured person by a doctor and a hospital and the question presented is:  Who is legally obligated to pay therefor? The obligation to pay primarily rests upon the individual who had the benefit of the treatment and the hospital services.  It is a debt which should be paid by the individual. The social obligation resting upon a municipality to see that one in distress does not suffer from neglect does not ordinarily mature into a liability until it has been shown that such an individual is an indigent person and entitled to pauper relief. No liability is to exist on the part of a municipality in an emergency case under sec. 49.18, Stats., for hospitalization and medical care beyond what is reasonably required by the circumstances of the case "and liability shall not attach unless, within twenty-four hours after admission of the patient, a written notice be mailed or delivered" to the town chairman, village president, mayor, or chairman of the county board, or some official designated for the purpose.  In sub. (1) of sec. 49.18 it is provided that the proper officer "when in his *Page 442 
opinion reason therefor exists, shall provide temporary medical relief for a poor person, and liability for expenses so incurred shall be the same as though incurred by the board or council."  Sec. 49.03 governs cases of transient paupers, and sec. 49.18 governs emergency cases involving resident
paupers.  Neither of these sections is brought into play except when an injured person "shall be in need of relief as a poor person" and shall not have money or property with which to pay.  In other words, under both statutes a person must be a pauper to be given public aid.  The allowance to be made is to be that which the board or council, as the case may be, "shall deem just."
The trial court reached the conclusion that the individual treated in this case was not shown to be an "indigent, a poor person or a pauper."  On the trial below appellants offered no evidence to establish a pauper status of the patient. It does appear that he was a young man twenty-two years of age, unmarried, living at home, and one of a large family none of whom had ever been on relief or asked for aid in maintaining themselves.  The particular individual involved had been employed for several years before the injury and had earned considerable money.  He had purchased an automobile although he had not fully paid for it at the time of the accident, and it appears that he was the average young man maintaining himself.  In this state of the evidence, the burden of proof rested upon the appellants to show that Novak had the status of a pauper.  But because he had no ready money with which to meet the extraordinary hospital and medical expenses he was to encounter, it does not follow that he was unable, by a fair effort, to discharge a debt which was peculiarly his own.  It is a well-known fact that many people in an emergency similar to that facing Novak, pay their doctor's and hospital bills in instalments, and that the time taken to discharge the full debt often extends over many months.  The fact that there may be resulting inconvenience *Page 443 
to the doctor or the hospital by reason of the delay, or the fact that a patient must make some sacrifice to pay his bills does not alter the direct obligation, and ought not to shift the responsibility for that indebtedness to the shoulders of others, unless the one treated is destitute of resources or such means of security as to be unable to obtain the means of subsistence.Rhine v. Sheboygan, 82 Wis. 352, 52 N.W. 444.
The evidence warranted the inference that at the time of the accident Novak was not an indigent or a poor person or a pauper, and the conclusion of the trial court to that effect must be sustained.
The trial court was also of the opinion that the provisions of sec. 49.18, Stats., governing a case where emergency medical aid and hospitalization are given were not complied with and that no contract, express or implied, existed which bound either of the counties or the town to pay the bills. The section of the statutes controlling in the case of transient paupers is sec. 49.03, but, as pointed out, neither section was aroused by the facts now before us because of the failure to show that Novak was a pauper.
The claim advanced by the appellants that they were misled to their disadvantage is answered by the facts of the case as found by the trial court.  The man was injured January 3, 1938.  When the county of Manitowoc and the town of Rockland were finally notified that claim might be made against them, they denied responsibility.  On February 11, 1938, the district attorney of Manitowoc county advised the director of Ozaukee county public welfare department that the town of Rockland denied liability "because . . . Mr. Novak is not a pauper."  The larger part of both bills accrued after that date.  The statute, calculated to enable one in an emergency of this character to secure temporary assistance, does prescribe conditions that must be complied with in order to charge the liability upon a community.  Serious departure from regulations laid down by the legislature would open *Page 444 
the door to a considerable abuse, for, as already pointed out, many people do not find it convenient to pay their honest debts. "The liability of towns to support poor persons is founded upon and limited by statute, and is not to be enlarged or modified by any supposed moral obligation."  Smith v.Colerain (Mass.), 9 Met. 492; Patrick v. Baldwin,109 Wis. 342, 349, 85 N.W. 274, 53 L.R.A. 613.
Doubtless it would be of advantage to doctors and hospitals generally to have the collection of their bills assured by the community in which the patient resides, but friends and relatives who may be willing to make loans or enter into some arrangement by which the fair charge for the services rendered may be paid are to be considered.  The individual himself is not to be tempted to forfeit his self-respect by providing an easy way to pass his own just obligation to the taxpayers of a small community.
Because of the conclusion reached, it is unnecessary to consider the questions raised as to the authority of the welfare officer to make a contract in a proper case or whether, if such authority exists, such a contract was here made.
By the Court. — Judgments affirmed.